     Case 3:22-cv-00172-L Document 7-1 Filed 01/28/22          Page 1 of 1 PageID 14



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA

                       Plaintiff,                 NO. 3:22-CV-172-L

v.

$6,123,652.21 SEIZED FROM THE FTX
TRADING LIMITED ACCOUNT IN THE
NAME OF “EVEGNII IGOREVICH
POLIANIN” BEGINNING WITH “0X67E”

                       Defendant in Rem.

                 WARRANT FOR ARREST OF PROPERTY IN REM

       WHEREAS, a Complaint for Forfeiture was filed on January 26, 2022, in the

Northern District of Texas, alleging the defendant property is subject to forfeiture

pursuant to 18 U.S.C. § 981(a)(1)(A) and 18 U.S.C. § 981(a)(1)(C) & (G); the United

States Marshals Service (or designee) is ordered, pursuant to Rules G(3)(b)(i) and G(3)(c)

of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions, to arrest the defendant property; take it into possession for safe custody; and

make a due and prompt return.

       SIGNED this                     day of                                       2022.

                                 CLERK, UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS


                                 By:
                                                   DEPUTY



Arrest Warrant In Rem – Page 1
